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Kathleen A. McCallister
Chapter 13 Trustee
P.O. Box 1150
Meridian ID 83680
(208) 922-5100 - Telephone
(208) 922-5599 - Facsimile
kam@kam13trustee.com


                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO


 IN RE:                                                 CHAPTER 13

 Catherine Jennifer Cutler,                             CASE NO. 20-00279-NGH

          Debtor.

          Notice of Motion to Dismiss and Opportunity to Object and for a Hearing

 No Objection. The Court may consider this request for an order without further notice or
 hearing unless a party in interest files an objection within fourteen [14] days of the date of
 service of this notice.

 If an objection is not filed within the time permitted, the Court may consider that there is no
 opposition to the granting of the requested relief and may grant the relief without further
 notice or hearing.

 Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy
 of the objection shall be served on the movant.

 Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
 schedule a hearing on the objection and file a separate notice of hearing.



              TRUSTEE’S MOTION TO DISMISS FOR MATERIAL DEFAULT


       NOW COMES, Kathleen A. McCallister, the standing Chapter 13 Trustee for
United States Bankruptcy Court for the District of Idaho, and as for her Motion to Dismiss states
as follows:
       1. Debtor filed for Chapter 13 relief on March 19, 2020. An order confirming
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Debtor’s Chapter 13 plan was entered by the court on July 20, 2020. Debtor’s confirmed plan
does pay 100% of allowed claims.
       2. Pursuant to the terms of the confirmed plan Debtor was to make the current monthly
mortgage payments owed to the Idaho Housing Authority in the amount of $1624 per month.
       3. Unbeknownst to the Trustee or her staff, the Debtor entered into a forbearance
agreement before her plan was confirmed. Debtor did not make her mortgage payments for a
one-year period. This amounted to the sum of $19,488 extra disposable income available to the
Debtor that was not used to fund the plan.
       4. Trustee has verified through Debtor’s tax returns and bank statements that she actually
had more income during that one-year period than she had prior to filing her case.
       5. Trustee also verified through a review of Debtor’s bank statements that during that
one-year period of the forbearance, debtor withdrew cash from her primary account totaling
$26,452.32, that she purchased a car for her minor child (as well as a stereo and a tattoo), she
made several trips including one to Disneyland, and had other expenditures not provided for on
her schedule J of reasonable and necessary expenses.
       6. Not only did debtor fail to comply with the terms of her plan, she also entered into this
agreement prior to signing the order of confirmation thus knowing that the plan she proposed
was no longer accurate when she signed the order of confirmation.
       7. On information and belief the Debtor failed to advise her attorney that she entered into
this agreement until the forbearance period ran.
       8. Debtor’s failure to make her currently monthly mortgage payments as required by the
terms of her confirmed plan is a material default.
        WHEREFORE, trustee respectfully requests that this case be dismissed or for such other
relief as this court deems reasonable and fair.


       DATED: November 11, 2021

                                                      /s/ Kathleen McCallister__
                                                      Kathleen McCallister, Trustee
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                                CERTIFICATE OF SERVICE

        I, HEREBY CERTIFY that on November 11, 2021, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

Office of the U.S. Trustee
ustp.region18.bs.ecf@usdoj.gov

Holly E Sutherland
Attorney at Law
holly@averylaw.net

      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non CM/ECF Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:

Catherine Jennifer Cutler
5369 N. Borgnine Ave
Meridian, ID 83646


                                                    /s/ Kathleen McCallister__
                                                    Kathleen McCallister, Trustee
